2/26/2019           Case 3:18-cv-00600-RCJ-WGCMotion to Compel Answer
                                                  Document       15 -Filed
                                                                      Google 02/26/19
                                                                             Docs     Page 1 of 5


            Luke Andrew Busby, Ltd. 
            Nevada State Bar No. 10319 
            316 California Ave.  
            Reno, NV 89509  
            775-453-0112 
            luke@lukeandrewbusbyltd.com 
            Attorney for the Plaintiff 
               
                                          UNITED STATES DISTRICT COURT  
                                                   DISTRICT OF NEVADA 
                                                                       
                                                                       
                COURAGE UHUMWNOMA OSAWE,                                   
                                                                           
                                 Plaintiff(s),                            Case No. 3:18-cv-00600-RCJ-WGC  
                          vs.                                              
                                                                          MOTION TO COMPEL 
                DMV INVESTIGATOR JENNIFER                                 FILING OF AN ANSWER OR, 
                TINSLEY, DMV INVESTIGATOR                                 IN THE ALTERNATIVE FOR 
                BRIAN BOWLES, DMV                                         A FINDING OF DEFAULT  
                INVESTIGATOR WILLIAM LYONS                                 
                and DMV SERGEANT TODD                                     ORAL ARGUMENT 
                PARDINI; and JOHN DOES I through                          REQUESTED 
                X, inclusive                                                 
                                                                           
                             Defendant(s).                                 
                _________________________________/ 

                                                                       
                                                                           

                     
                        COMES NOW, COURAGE UHUMWNOMA OSAWE, (“Osawe” or “Plaintiff ”), by 

            and through the undersigned counsel, and hereby files the following Motion to Compel 

            Filing of an Answer or, in the Alternative, for a Finding of Default against DMV 

            INVESTIGATOR JENNIFER TINSLEY (“Tinsley”), DMV INVESTIGATOR BRIAN 

            BOWLES (“Bowles”), DMV INVESTIGATOR WILLIAM LYONS (“Lyons”), and DMV 




https://docs.google.com/document/d/1v2GgKU3nBRce-vXXh9I0pSL1NakV0e0NrIBhi0OXaWE/edit#                        1   1/5
2/26/2019         Case 3:18-cv-00600-RCJ-WGCMotion to Compel Answer
                                                Document       15 -Filed
                                                                    Google 02/26/19
                                                                           Docs     Page 2 of 5


            SERGEANT TODD PARDINI (“Pardini”) (collectively “the Defendants”); and JOHN 

            DOES I through X, inclusive. 

                   This Motion is made and based upon all of the pleadings and records on file for this 

            proceeding together with every exhibit that is mentioned herein or attached hereto (each of 

            which is incorporated by this reference as though it were set forth hereat in haec verba), if 

            any there be, as well as the points and authorities set forth directly hereinafter.  

                               MEMORANDUM OF POINTS AND AUTHORITIES 

                   The Plaintiff filed a Complaint in this matter on December 24, 2019 (Doc #1). On 

            February 4, 2019, the Defendants filed a Motion for Summary Judgment (Doc #10). On 

            February 8, 2019, the attorneys for the parties had a phone call. During this call, the 

            undersigned counsel for the Plaintiff informed counsel for the Defendants that because only 

            a motion for summary judgment was filed, that the Defendants were in default of their 

            obligation to file a responsive pleading. The Defendants to date have not filed an answer to 

            the Plaintiff's Complaint.   

                   Although a party may move for summary judgment “at ay time until 30 days after the 

            close of all discovery,” under FRCP 56(b), the filing of a motion for summary judgment does 

            not toll the time period for responding to an answer under FRCP 12(a)(1)(A)(ii), i.e. within 21 

            days after being served with the summons and complaint. Under FRCP 12(a)(4)(A), a 

            “motion under this rule” (i.e. an FRCP 12 motion) alters the time period to answer a 

            complaint. FRCP 12(b)1-6 provides the defenses permitted to be asserted in response to a 

            complaint. A motion for summary judgment is not a defense permitted to be made by 




https://docs.google.com/document/d/1v2GgKU3nBRce-vXXh9I0pSL1NakV0e0NrIBhi0OXaWE/edit#                        2   2/5
2/26/2019            Case 3:18-cv-00600-RCJ-WGCMotion to Compel Answer
                                                   Document       15 -Filed
                                                                       Google 02/26/19
                                                                              Docs     Page 3 of 5


                motion under FRCP 12(b), nor any other provision of FRCP 12.   

                      The Defendant's Motion for Summary Judgment (Doc #10) does not cite to FRCP 12, 

                nor does it argue that the Plaintiff has failed to state a claim upon which relief may be 

                granted, nor does it assert affirmative defenses or admissions or denials to the to the 

                Plaintiff's claims in the Complaint as required by FRCP 8(b)(1)(A-B).   

                      Under FRCP 12(d), if on a motion under Rule FRCP 12(b)(6) matters outside the 

                pleadings are presented to and not excluded by the court, the motion must be treated as one 

                for summary judgment under FRCP 56. However, this provision does not permit a party to 

                file a motion for summary judgment in lieu of a motion under FRCP 12(b)(6) or an answer, 

                nor does it permit the Court to construe an FRCP 56 motion as an FRCP 12(b)(6) motion.1 

                      No provision in the Local Rules, including LR 7-2 governing motions, permits a party 

                to file a motion for summary judgment in lieu of an FRCP 12(b)(6) motion.  

                      FRCP 55(a) permits the Court to enter a default judgment when a party against whom 

                a judgment for affirmative relief is sought has “failed to plead or otherwise defend.” Because 

                the Defendants have failed to comply with the pleading requirements of both FRCP 12 and 

                FRCP 8, a finding of default is justified.  

                      WHEREFORE, the Plaintiff requests that the Court order the Defendants to file 

                forthwith an answer to the Plaintiff ’s Complaint that complies with the requirements of 

                FRCP 8, or, in the alternative, enter a finding of default as permitted by FRCP 55.   


            1
              See Ricke v. Armco, Inc., 158 F.R.D. 149, 1994 WL 597305 (D. Minn. 1994) - a motion to 
            dismiss presenting matters outside pleadings would not be considered a motion for summary 
            judgment before an answer was filed, where summary judgment motion was mislabeled as a 
            motion to dismiss to avoid filing an answer.

https://docs.google.com/document/d/1v2GgKU3nBRce-vXXh9I0pSL1NakV0e0NrIBhi0OXaWE/edit#                        3    3/5
2/26/2019         Case 3:18-cv-00600-RCJ-WGCMotion to Compel Answer
                                                Document       15 -Filed
                                                                    Google 02/26/19
                                                                           Docs     Page 4 of 5


            Respectfully submitted this February 26, 2019.  
              
                                                                         By: __________________________ 
                                                                         Luke Busby 
                                                                         Nevada State Bar No. 10319 
                                                                         316 California Ave.  
                                                                         Reno, NV 89509  
                                                                         775-453-0112 
                                                                         luke@lukeandrewbusbyltd.com 
                                                                         Attorney for the Plaintif 
             
             
             
             
             
             
             
             
             
             
             
             
             
             
             
             
             
             
             
             
             



https://docs.google.com/document/d/1v2GgKU3nBRce-vXXh9I0pSL1NakV0e0NrIBhi0OXaWE/edit#                      4   4/5
2/26/2019         Case 3:18-cv-00600-RCJ-WGCMotion to Compel Answer
                                                Document       15 -Filed
                                                                    Google 02/26/19
                                                                           Docs     Page 5 of 5


                                                
                                             CERTIFICATE OF SERVICE 
                    Pursuant to FRCP 5, I certify that on the date provided below, I caused service to be 

            completed by: 

            ______ personally delivering; 

            ______ delivery via Reno/Carson Messenger Service; 

            ______ sending via Federal Express (or other overnight delivery service); 

            ______ depositing for mailing in the U.S. mail, with sufficient postage affixed thereto; or, 

            XXXX delivery via electronic means (ECF, fax, eflex, NEF, etc.) 

            a true and correct copy of the foregoing document addressed to:  

            AARON D. FORD 
            Attorney General 
            NATHAN L. HASTINGS (Bar No. 11593) 
            Senior Deputy Attorney General 
            State of Nevada 
            Office of the Attorney General 
            555 Wright Way 
            Carson City, NV 89711 
            (775) 684-4606 (phone) 
            (775) 684-4601 (fax) 
            NHastings@ag.nv.gov 
            Attorney for Defendants 
             
             
            By: ______________________________                         Dated: ________________ 
            Luke Busby 
             




                                                                                                             5
https://docs.google.com/document/d/1v2GgKU3nBRce-vXXh9I0pSL1NakV0e0NrIBhi0OXaWE/edit#                        10   5/5
